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                       Bay Medical Foundation, and Palo Alto
                   7   Medical Foundation
                   8
                                                  UNITED STATES DISTRICT COURT
                   9
                                               NORTHERN DISTRICT OF CALIFORNIA
               10
                                                           SAN JOSE DIVISION
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               12
                       UNITED STATES OF AMERICA and THE                 CASE NO. 18-CV-02067-LHK
               13      STATE OF CALIFORNIA., ex rel. Judy
                       Jones, an individual,                            DEFENDANTS’ LOCAL RULE 3-15
               14                                                       CERTIFICATION OF INTERESTED
                                             Plaintiffs,                ENTITIES OR PERSONS
               15
                                     v.                                 Hon. Lucy H. Koh
               16
                       SUTTER HEALTH, a corporation; SUTTER
               17      BAY MEDICAL FOUNDATION, a
                       corporation; PALO ALTO MEDICAL
               18      FOUNDATION, a corporation, PALO ALTO
                       FOUNDATION MEDICAL GROUP, INC., a
               19      corporation; ROY HONG, M.D., aka ROY W.
                       HONG, an individual; and DOES 1-10,
               20
                                             Defendants.
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ATTORNEYS AT LAW
                                                                                              DEFENDANTS’ MOTION TO DISMISS
                                                                                    UNITED STATES’ COMPLAINT-IN-INTERVENTION
                                                                                                           3:15-CV-01062 LB
                         Case 5:18-cv-02067-LHK Document 59 Filed 02/12/20 Page 2 of 2


                   1           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

                   2   associations of persons, firms, partnerships, corporations (including parent corporations) or other

                   3   entities (i) have a financial interest in the subject matter in controversy or in a party to the

                   4   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

                   5   substantially affected by the outcome of this proceeding:

                   6       •   Sutter Bay Hospitals (member of obligated group that includes Defendants);

                   7       •   Sutter Coast Hospital (member of obligated group that includes Defendants);

                   8       •   Sutter Valley Hospitals (member of obligated group that includes Defendants);

                   9       •   Sutter Valley Medical Foundation (member of obligated group that includes Defendants);

               10              and

               11          •   Sutter Visiting Nurse Association and Hospice (member of obligated group that includes

               12              Defendants).

               13

               14
                       DATED: February 12, 2020                        Respectfully submitted,
               15
                                                                       LATHAM & WATKINS LLP
               16

               17                                                      By: /s/ Jason M. Ohta
                                                                               Jason M. Ohta
               18                                                              Katherine A. Lauer
               19                                                              Attorneys for Defendants Sutter Health,
                                                                               Sutter Bay Medical Foundation, and Palo
               20                                                              Alto Medical Foundation
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ATTORNEYS AT LAW
                                                                                                        DEFENDANTS’ CERTIFICATION OF
                                                                           2                           INTERESTED ENTITIES OR PERSONS
                                                                                                           Case No. 18-CV-02067-LHK
